Case 2:03-cv-02409-.]PI\/|-tmp Document 230 Filed 04/19/05 Page 1 of 2 Page|D 133

IN THE UNlTED sTATEs DISTRICT CoURT ,_ y _
FoR THE WESTERN DISTRICT 0F TENNESSEE F"-¢ y : l.
WESTERN DIvIsIoN

USAPR 19 &;H d A.

REBECCA H. TREACE, ROBEFH‘ a m ' :r_.!_ro

cLEaK, u.s. sss-1 c.
n . W.D. oz= TN, ME:J|PH:§
Plalntlff,

v. Civil Action No. 03-2409 Ml

UNUM LIFE lNSURANCE COMPANY
OF AMERICA,

\_z\_¢\._/\._/\vr\_/\.,/\_/\./\._/

Defendant.

 

[PE.QP@S§D’],();IDER GRANTING DEFENDANT UNUM LIFE INSURANCE COMPANY
OF AMERICA'S MOTION FOR LEAVE TO FILE A REPLY TO PLAINTIFF'S
OPPOSITION TO DEFENDANT'S MOTION IN LIMINE TO EXCLUDE TESTIMONY
BY DR. JOHN BLACK REGARDING "UNSOUND MIND"

 

This matter came before the Court upon Defendant Unum Life lnsurance Company of
America'S Motion and Memorandum for Leave to File a Reply to Plaintift‘s Opposition to
Defendant's Motion in Limine to Exclude Testirnony by Dr. John Black Regarding "Sound Mind."
lt appears to the Court that counsel for Plaintiff has no objections to Defendant's Motion, that the
Motion is Well taken, and that it should be and is hereby granted.

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the Defendant shall

tile a Reply to Plaintiff‘s Opposition no later than Monday, April 18, 2005.

JQF@M(KWQ

. S. ISTRJCT JUDGE

  

 

ITRICT oURT - WESTENR ISRICT oF TNNESEE

       

UNDITE STATES D

Notice of Distribution

This notice confirms a copy of the document docketed as number 230 in
case 2:03-CV-02409 Was distributed by faX, mail, or direct printing on
April 19, 2005 to the parties listed.

 

 

.1 ohn W. Campbell

HUSCH & EPPENBERGER
200 .1 efferson Ave.

Ste. 1450

1\/lemphis7 TN 38103

Bradley W. Eskins
ESKINS KING7 PC
50 N. Front St.

Ste. 1 170

1\/lemphis7 TN 38103

James E. King
ESKINS KING7 PC
50 N. Front St.

Ste. 1170

1\/lemphis7 TN 38103

S. Russell Headrick

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

1\/lemphis7 TN 38103

R. Scott Vincent

LEITNER WILLIAMS DOOLEY & NAPOLITAN-Memphis
254 Court Ave.

Second Floor

1\/lemphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

